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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

    DOUGLAS FELLER; JEFFRY HEISE; and
    JOSEPH MULL, individually and on behalf of all
    others similarly situated,
                                                           Case No. 0:24-cv-61444
                             Plaintiffs,
            v.

    ALLIANCE ENTERTAINMENT, LLC; and
    DIRECTTOU, LLC D/B/A COLLECTORS’
    CHOICE MUSIC, CRITICS’ CHOICE VIDEO,
    MOVIES UNLIMITED, DEEPDISCOUNT, AND
    WOW HD,

                             Defendant.

    ORDER GRANTING MOTION TO ENLARGE CASE MANAGEMENT DEADLINES

           THIS CAUSE comes before the Court upon Plaintiffs’ Unopposed Motion for Enlargement

   of Case Management Deadlines. Upon review, it is ordered that

           The Motion is Granted. The Order Setting Jury Trial Schedule (ECF No. 27) is modified

   only as follows and remains unaltered in all other respects:

           December 22, 2024. The parties shall file all motions to amend pleadings or to join parties.

           January 3, 2024. Parties exchange expert witness summaries or reports on issues of class

   certification.

           January 20, 2024. Parties exchange rebuttal expert witness summaries or reports on issues

   of class certification.

           February 7, 2025. Deadline for completing class certification discovery.

           March 4, 2025. Plaintiff files motion for class certification, with the parties’ subsequent

   briefing due within the time permitted by the Local Rules.

           June 13, 2025. The parties shall exchange expert witness summaries or reports.
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           June 27, 2025. The parties shall exchange rebuttal expert witness summaries or reports.

           July 10, 2025. All discovery, including expert discovery, shall be completed.

           July 17, 2025. The parties must have completed mediation and filed a mediation report.

           July 24, 2025. The parties shall file all pre-trial motions, including motions for summary

   judgment, and Daubert motions.

           The case is set for trial during the Court’s two-week trial calendar beginning on November

   3, 2025. Counsel for all parties shall also appear at a calendar call at 11:00 a.m. on October 28,

   2025.

   DONE AND ORDERED in Miami, Florida on this ______ day of October, 2024.

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                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE




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